John Morrison                          Morris Dees*
Robert Farris-Olsen                    J. Richard Cohen*
MORRISON, SHERWOOD,                    David C. Dinielli*
WILSON, & DEOLA, PLLP                  Jim Knoepp*
401 N. Last Chance Gulch St.           SOUTHERN POVERTY LAW CENTER
Helena, MT 59601                       400 Washington Avenue
ph. (406) 442-3261                     Montgomery, AL 36104
fax (406) 443-7294                     ph. (334) 956-8200
john@mswdlaw.com                       fax (334) 956-8481
rfolsen@mswdlaw.com                    morris.dees@splcenter.org
Attorneys for Plaintiff Tanya Gersh    richard.cohen@splcenter.org
                                       david.dinielli@splcenter.org
                                       jim.knoepp@splcenter.org
                                       Attorneys for Plaintiff Tanya Gersh
                                       *Admitted Pro Hac Vice


                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MONTANA
                             MISSOULA DIVISION

TANYA GERSH,                             Cause No. CV-17-50-M-DLC-JCL

                   Plaintiff,
                                         BRIEF IN SUPPORT OF MOTION
      vs.                                TO STRIKE DEFENDANT’S
                                         NOTICE OF SUPPLEMENTAL
ANDREW ANGLIN, publisher of the          AUTHORITY OR, IN THE
Daily Stormer,                           ALTERNATIVE, FOR LEAVE TO
                                         RESPOND
                   Defendant.


      On June 4, 2018, Plaintiff Tanya Gersh submitted her response to Defendant

Andrew Anglin’s objections to the May 3rd findings and recommendations of

Magistrate Judge Lynch, and the motion to dismiss was deemed submitted. Dkt.

No. 98. On September 12, 2018, Defendant filed a Notice of Supplemental

                                                                             Page 1
Authority in which he cites Nwanguma v. Trump, No. 17-6290, 2018 WL 4323966

(6th Cir. Sept. 11, 2018). Based on this case, Defendant argues that a disclaimer

against violence shields him from liability for substantially assisting his followers

in the invasion of Plaintiff’s privacy. Dkt. No. 104.

      Plaintiff asks that the Court strike this Notice because it does not present

“pertinent and significant authority.” Alternatively, Plaintiff asks the Court for

authorization to file a response.

                                    ARGUMENT

      Defendant’s Notice does not comply with the governing Local Rule because

it does not cite “pertinent and significant” authority. Local Rule 7.4 allows a party

to advise the Court if “pertinent and significant authority comes to a party’s notice”

after briefing but before the Court issues a decision.

      Nwanguma is a Sixth Circuit case analyzing then-candidate Trump’s civil

liability under Kentucky’s incitement to riot penal statute for the assault of rally

attendees by audience members after he told the audience “get ‘em out of here”

followed by “don’t hurt ‘em.” No. 17-6290, 2018 WL 4323966. Erroneously

applying the Sixth Circuit’s rationale that the defendant in that case could not be

held responsible for violence when the plain meaning of his words discouraged

violence, Defendant argues in his Notice that “[l]ike Candidate Trump, Mr. Anglin




                                                                                Page 2
made a . . . denunciation of threats and violence” and therefore, “Defendant’s

speech does not constitute incitement to unlawful action.” Dkt. No. 104 at 3.

      The problem with Defendant’s argument is that Plaintiff does not allege

incitement; she alleges substantial assistance. Defendant even acknowledges this

fact on the pages of his brief cited in his Notice. See Dkt. No. 91 at 14 (“The

Magistrate Judge . . . found that Plaintiff was not pursuing the incitement theory”).

Therefore, the Nwanguma case is inapplicable and not pertinent.

      Defendant has gone beyond providing this Court notice of supplemental

authority and has instead presented an irrelevant case and argument. Thus,

Plaintiff asks this Court to strike the Notice. Alternatively, Plaintiff asks the Court

for authorization to file a response.

      DATED this 21st of September, 2018.

                                 By:    /s/ John M. Morrison
                                        John M. Morrison
                                        MORRISON SHERWOOD WILSON DEOLA PLLP
                                        Attorneys for Plaintiff




                                                                                Page 3
                      CERTIFICATE OF COMPLIANCE

      Pursuant to Rule 7.1(d)(2)(E) of Local Rules of Procedure for the District of

Montana, I certify that the foregoing brief is printed with a proportionately spaced

Times New Roman text typeface of 14 points; is double-spaced except for

footnotes, lengthy quotations, or indented material; and the word count calculated

by Microsoft Word 2018 is not more than 384 words, excluding caption,

certificates of service and compliance, table of contents, table of authorities and

exhibit index.

       DATED this 21st of September, 2018.

                                By:   /s/ John M. Morrison
                                      John M. Morrison
                                      MORRISON SHERWOOD WILSON DEOLA PLLP
                                      Attorneys for Plaintiffs




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